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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA



WARREN HILL, LLC,
                               Plaintiff,                       No. 2:18-01228-HB
v.

SFR EQUITIES, LLC,
                               Defendant.

                 PLAINTIFF’S SUR-REPLY IN FURTHER OPPOSITION
           TO DEFENDANT’S MOTION FOR PARTIAL SUMMARY JUDGMENT

       Plaintiff Warren Hill, LLC, through counsel, respectfully submits this Sur-Reply in

further Opposition to Defendant SFR Equities, LLC’s Motion for Partial Summary Judgment.

        I.      Only VAP Earns the Section 1.2(d) Management Fees at Issue.

       SFR argues for the first time in its reply brief that VAP does not “earn” the management

fees in dispute under Section 1.2(d) of the MIPA. To do so, SFR claims that

                                                                     (Reply Br. at 4) and that

Warren Hill did not

                (id. at 5). These statements are not true. The record is summarized as follows:

               VAP’s        testified that



                   Ex. 3, Reape Dep. at 105:4-23, 113:12-16, 128:14-17, 154-55, 224:1-6, 180:6-

181:20-182:22; Ex. 4, Wilson Dep. at 150:22-151:24, 224:19-225:8; Exs. 7-8, 11, 19 at 2);

               VAP receives the fees that it earns                         via wire transfer (Ex.

3, Reape Dep. at 152:3-153:13, 154:7-155:2), and each year, VAP’s          , on behalf of VAP,

requests that the Trustee             ) for each trust confirm the precise amount of fees that VAP

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earned during the fiscal year, including origination fees (Exs. 7-8, 11);

                    VAP remains                                      and VAP remains responsible

                                                            (See Ex. 12, at §§ 2.01, 2.10(a); Ex. 13, at §§

2.01, 3.01, 6.01; Ex. 14, at §§ 2.01, 3.01, 6.01; Ex. 15, at §§ 2.01, 2.10(a); Ex. 16, at §§ 2.01,

2.10(a); Ex. 17, at §§ 2.01, 3.01, 6.01; Ex. 18, at §§ 2.01, 3.01, 6.01.)



               (See Hynes Decl., Exs. K-P, at 1 (stating that

               and

                    VAP holds itself out to the State of Illinois as earning the fees at issue,1 and has

neither                                                                                    , nor



          . (Ex. 3, Reape Dep. at 82:21-83:5, 198:1-3; Ex. 9, Program Terms at 4-6; Ex. 11). Brian

Hynes, a VAP founder, testified last year before the Illinois Commission on Government

Forecasting and Accountability and did not mention Bluestone.2 Rather, Mr. Hynes testified

about the receivables that VAP “purchased,” the total amount of penalty fees that VAP had been

paid, and the total amount still “owed to” VAP—VAP is “owed” this money because,

                                                .3



          1
            See Illinois Comptroller Website, VAP Disclosures, available at
https://illinoiscomptroller.gov/comptroller/assets/File/QualifiedPurchaserMonthlyReports/2018/October/
VendorAssistanceProgramLLC October%202018.pdf);

          The public testimony can be located via a “Meeting Audio” link at:
          2

http://cgfa.ilga.gov/MeetingInformation.aspx?id=108. Mr. Hynes’ testimony begins at minute 21:20 of
the audio and concludes at approximately minute 44:00.
          3
              Warren Hill contends that the record clearly demonstrates that VAP earned the fees at issue—
                                                        n and even SFR
                                       (Reply Br. at 3; see SFR St. of Alleged Facts ¶ 4).) By contending

                                                        2
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        Simply put, VAP represents to                 , the State of Illinois, VAP’s            , state

vendors, and others that VAP is the qualified entity responsible for managing the trusts, that

VAP is earning the management fees in question, and that VAP is still owed outstanding

amounts by the State. The contrary, litigation-driven narrative that SFR has delivered to this

Court is flatly refuted by the record.4

        II.       SFR’s New Assignment Argument Is Contrary to the Law and the Record.

        In sworn testimony,

                  Ex. 3, Reape Dep. at 195:14; Ex. 4, Wilson Dep. at 252:5-10),

                                                                                   . SFR is attempting

to distance itself from this undisputed testimony by attempting, in its reply, to couch the

VAP/Bluestone relationship as involving some sort of “assignment.” This argument fails.

        First, SFR argues that the assignment does not violate the Program Terms because

Assigned Receivables may be pledged as collateral to secure an applicable credit facility under

Program Term § II.6. (SFR Reply at 6-7.) But, Warren Hill does not challenge the pledging of

Assigned Receivables as collateral to secure credit; instead, Warren Hill contends that the

subsequent, purported assignment

                                                                                                              .

        Second, SFR contends that VAP has not “been deemed to be out of compliance by the



that Bluestone earns the fees for the first time in its reply, SFR undermines its motion by injecting new
factual arguments that it claimed in its moving papers are not necessary for resolution of its motion.
        4
            SFR contends that
                                                                            (SFR Reply Br. at 5.) Not so.
Warren Hill disputes
      By way of example,
                                                                                        (Ex. 4, Wilson Dep.
at 261:14-262:7.) Warren Hill’s experts will address this at the time set forth in the Scheduling Order.


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State of Illinois” and that any challenge to VAP’s compliance with the Program Terms violates

principles of prudential standing. (Id. at 7.) VAP, however, has never

                                                                                 in fact, in recent

disclosures to the State, VAP held itself out as receiving all of the fees at issue and distributing

its earnings to its owners, not                                                       See Ex. 28; Ex.

5, Harris Dep. at 96:22-97:18; 98:2-99:8; see also supra Notes 1-2.)

       In addition, Warren Hill is not seeking to “assert[] the legal claims of third parties.”

(SFR Reply Br. at 7.) Warren Hill is asserting its own rights under the MIPA. The legal and

contractual problems implicated by SFR’s proffered narrative are, inter alia, further proof of

SFR’s wrongful attempt to deflate the earnout payments and of Warren Hill’s entitlement to

funds that SFR sought to shelter                      . Moreover, these purported assignments in

the                        would violate the Program Terms, and this Court cannot credit

contracts that would violate the law. Ill. Police v. FOP Troopers Lodge No. 41, 323 Ill. App. 3d

322, 328, 256 Ill. Dec. 424, 429, 751 N.E.2d 1261, 1266 (2001) (“a court may refuse to enforce

contracts that violate law or public policy.”); Chi. Food Mgmt., Inc. v. Chicago, 163 Ill. App. 3d

638, 645, 114 Ill. Dec. 725, 729, 516 N.E.2d 880, 884 (1987) (same).

       Third, SFR also claims, without a record citation, that VAP does not perform work and

therefore it is permissible to allocate fees that VAP earns under the management agreements to

the Bluestone entities. SFR’s statement is inconsistent with VAP’s disclosures to Illinois. (See

supra Notes 1-2; Ex. 28.) In any event, it does not help SFR because the description is, if

anything, consistent with the testimony of



                                                                      .



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        III.    The Section 1.2(d) Dispute is Distinct from the Section 1.2(e) Dispute.

        Finally, the parties have a serious dispute concerning the trust certificates that SFR

mentions, without context, throughout its reply. SFR attempts to shoehorn the trust certificate

dispute into the parties’ dispute over management fees in Section 1.2(d). But, the trust certificate

dispute implicates a different pool of money—“Reserve Amounts”—that are covered by Section

1.2(e). (Supp. Ex. 3, Reape Dep. at 242:24-243:5 (

                                                     )5 In general, the value of the trust certificates

includes funds that,

                                                                           . Warren Hill contends that

these trust certificates are “financial instruments,” as contemplated by Section 1.2(e), and that the

circumstances of their transfer to BCM were fraudulent. Warren Hill argues that SFR owes, or

will owe, Warren Hill money under the terms of Section 1.2(e). SFR does not cite Section

1.2(e), nor does it seek judgment relating to that provision. The Court should deny as premature

any attempt by SFR to obtain a judgment of any kind relating to the trust certificates.

                                            CONCLUSION

        For these reasons, Warren Hill respectfully requests that this Court deny SFR’s Motion.

                                                         Respectfully submitted,

                                                         /s/ Gregory S. Voshell
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Dated: January 10, 2019                                  Counsel for Plaintiff Warren Hill, LLC


        5
          Warren Hill submits these additional pages of Mr. Reape’s testimony to clarify for the Court the
distinction between                                                                             .

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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that, on this date, I have caused a true and correct copy

of the forgoing to be served upon each attorney of record via electronic mail, the Court’s ECF

system, email and U.S. mail.




                                                 /s/ Gregory S. Voshell
                                                 GREGORY S. VOSHELL


Dated: January 10, 2018
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SUPPLEMENTAL
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